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                                                             10/19/2010  Page:  1
                                                       United   States Court of Appeals
                                                                 Tenth Circuit
                       UNITED STATES COURT OF APPEALS
                                                                         October 19, 2010
                                 FOR THE TENTH CIRCUIT                 Elisabeth A. Shumaker
                                                                           Clerk of Court

    SOLOMON BEN-TOV COHEN,

                 Plaintiff - Appellant,

    v.                                                           No. 09-1563

    JOHN P. LONGSHORE; UNKNOWN
    MAIL CLERK, El Paso County Sheriff's
    Office,

                 Defendants - Appellees.



                                           JUDGMENT




   Before KELLY, McKAY, and LUCERO, Circuit Judges.


          This case originated in the District of Colorado and was submitted on the briefs at

   the direction of the court.

          The judgment of that court is reversed. The case is remanded to the United States

   District Court for the District of Colorado for further proceedings in accordance with the

   opinion of this court.

                                                    Entered for the Court,



                                                    ELISABETH A. SHUMAKER, Clerk
